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IN THE UNITED STATES DISTRICT COURT ED
FOR THE DISTRICT OF NEW MEXICO

CARL WILSON, an individual, and
AUDREE WILSON, an individual,

Plaintiffs,
Vv. No. CIV 94-892 JC/LFG
HARPERCOLLINS PUBLISHERS, INC.,
a Delaware Corporation and

EUGENE LANDY, an individual,

Defendants.

CERTIFICATE OF SERVICE
We hereby certify that an endorsed copy of Defendant’s Order

granting a 30 day extension until October 13, 1994 to respond to
the complaint was served upon Plaintiffs’ counsel, Jody Leslie, at
the address set forth below, by first-class mail, this _ [74 aay of
September, 1994.

Jody Leslie, Esq.

Langberg, Leslie & Gabriel

2049 Centruy Park East, Suite 3030
Los Angeles, CA 90067

RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

By ULZned bho

William S. Dixon
Post Office Box 1888
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(505) 765-5900

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I hereby certify that on the

day of _, a copy
of the foregoing was mailed to
counsel of record.

RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

py Li eeed Abbe

William S. Dixon

